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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                                                 Hon. Timothy J. Kelly

      v.                                         Criminal No. 21-106 (TJK)

JEROD HUGHES,

              Defendant.



                  DEFENDANT’S MOTION FOR
        PREPARATION OF CRIMINAL HISTORY CALCULATION

      Comes now Defendant, Jerod Hughes, by and through counsel, and

respectfully requests this Honorable Court to order that the probation office

prepare a criminal history calculation for Mr. Hughes.

      In support of this motion, Defendant has a criminal history which could

impact the sentencing consequences in this case. A criminal history calculation

would help aid the parties in determining what the effect of any conviction would

be.

      WHEREFORE, for the above-stated reasons, the Defendant respectfully

moves this Honorable Court to refer this matter to the probation office for

preparation of a criminal history calculation.




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                                  Respectfully submitted,


DATED: April 10, 2021
                                    /s/
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                                  Washington, DC 20002
                                  jonathanzuckerlaw@gmail.com
                                  202-624-0784




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                           CERTIFICATE OF SERVICE

        I certify that on this 10th day of April, 2021 I caused the foregoing to be
filed with the court using the CM/ECF system that will send notification of such
filing to the following registered users:

      James Nelson
      Assistant United States Attorney
      555 4th St., NW
      Washington, DC 20001
      James.nelson@usdoj.gov



                                              ____/s/____________________
                                              Jonathan Zucker




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                                              Hon. Timothy J. Kelly
      v.
                                              Criminal No. 21-106 (TJK)
JEROD HUGHES,

              Defendant.



             ORDER FOR PRE-PLEA CRIMINAL HISTORY AND
                     GUIDELINES CALCULATION

      Upon consideration of Mr. Hughes’ Motion for Criminal History

Calculation, it is this ___ day of _______ 2021 hereby

      ORDERED that Mr. Hughes’ Motion is GRANTED; and it is further

      ORDERED that the United States Probation Office for the District of

Columbia shall prepare the Criminal History calculation within forty-five (45) days

of the date of this order.

                                      ____________________________________
                                      Judge Timothy J. Kelly
Copies to:
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